:20-cv- -D- D t3 Filed 06/01/20 Pagelof4 PagelD1
Case 9:20-V-OIACANITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF TEXAR #0177!"

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Case 3:20-cv-01403-D-B

JS 44 (Rev. 06/17) - TXND (Rev. 06/17)

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as

provided by local rules of court. This form, approved by the Judicial Con:

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purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM,)

f ID 4
Weaver her Page 4o0f4 Page

ired by law, except as

nited States in September 1974, is required for the use of the Clerk of Court for the

I. (a) PLAINTIFFS

Q

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

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DEFENDANTS sce <]

County of Residence of First Listed Defendant
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NOTE: IN LAND CONDEMNATION CASES, U:
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Attomeys (If Known)

CLERK U.S. DISTRICT COUR
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S7RICT OF TEXAS J

II. BASIS OF JURISDICTION (Piace an “x” in One Box Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “X” in One Bax for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)
O 1 US. Government x 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State > 1 > 1 Incorporated or Principal Place o4 04
of Business In This State
2 U.S. Government 4 Diversity Citizen of Another State @ 2 > G 2 Incorporated and Principal Place os o5
Defendant (indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a B83 O 3° Foreign Nation Be 086
___Foreign Country
IV. NATURE OF SUIT ¢ Click here for.
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 449422 Appeal 28 USC 158 O 375 False Claims Act
120 Marine bi 310 Airplane 365 Personal Injury - of Property 21 USC 881 423 Withdrawal O 376 Qui Tam (31 USC
130 Miller Act } 315 Airplane Product Product Liability 1p 690 Other 28 USC 157 372%(a))
© 140 Negotiable Instrument Liability pr367 Health Care/ 6 400 State Reapportionment
0 150 Recovery of Overpayment [9 320 Assault, Libel & Pharmaceutical 410 Antitrust
& Enforcement of Judgment Slander Personal Injury (J 430 Banks and Banking
151 Medicare Act [} 330 Federal Employers’ Product Liability D 830 Patent 450 Commerce
152 Recovery of Defaulted Liability ¥ 368 Asbestos Personal 0) 835 Patent - Abbreviated §) 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |0 470 Racketeer Influenced and
(Excludes Veterans) L345 Marine Product Liability O 840 Trademark Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY i ; ; ©) 480 Consumer Credit
of Veteran’s Benefits # 350 Motor Vehicle pp 370 Other Fraud B 710 Fair Labor Standards © 861 HIA (1395ff) GO 490 Cable/Sat TV
- 160 Stockholders’ Suits iG 355 Motor Vehicle bs 371 Truth in Lending, Act O 862 Black Lung (923) 0 850 Securities/Commodities/
190 Other Contract Product Liability 380 Other Personal i$) 720 Labor/Management O 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability 4 360 Other Personal Property Damage Relations © 864 SSID Title XVI © 890 Other Statutory Actions
oD 196 Franchise Injury WP 385 Property Damage B 740 Railway Labor Act OC 865 RSI (405(g)) gi 891 Agricultural Acts

Product Liability

9) 895 Freedom of Information
a ; Act
© 210 Land Condemnation Habeas Corpus: i f} 870 Taxes (US. Plaintiff @ 896 Arbitration
220 Foreclosure 463 Alien Detainee Income Security Act or Defendant) i 899 Administrative Procedure
O 230 Rent Lease & Ejectment 510 Motions to Vacate aye7! IRS—Third Party Act/Review or Appeal of
© 240 Torts to Land Sentence 26 USC 7609 Agency Decision
O 245 Tort Product Liability ME 530 General &# 950 Constitutionality of
© 290 All Other Real Property 535 Death Penalty State Statutes
re 462 Naturalization Application
540 Mandamus & Other pass Other Immigration
550 Civil Rights Actions
O $55 Prison Condition
F)} 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an "x" in One Bax ny) = WOO RESIS gt
YF 1 Original O12 Removed from 0 3 Remanded from PR einstated or C1 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

VI. CAUSE OF ACTION

Brief description of cause:
VII. REQUESTED IN © CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: OG Yes ONo
VHUI. RELATED CASE(S) ‘oms):
IF ANY Geeiniricton:  SUDGE : DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD '
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RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

